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                         UNITED STATES DISTRICT COURT

                                 DISTRICT OF MAINE


ROBERT ELEFANTE,                                 )
                                                 )
        Plaintiff,                               )
                                                 )
       v.                                        )      No. 2:20-cv-00463-LEW
                                                 )
UNITED STATES DEPARTMENT                         )
OF EDUCATION, EXPERIAN                           )
INFORMATION SOLUTIONS, INC.,                     )
EQUIFAX INFORMATION SERVICES,                    )
LLC, AND TRANSUNION, LLC,                        )
                                                 )
       Defendants.                               )

                                 ORDER OF REMAND

       In this action, Plaintiff Robert Elefante pursues claims against the defendant credit

reporting agencies under the Fair Credit Reporting Act based on the allegation that they

have failed to investigate his dispute with the Department of Education and correct his

credit report accordingly. Relatedly, Plaintiff contends the Department has falsely found

him to be in default on a student loan issued under its Federal Family Education Loan

Program. Plaintiff’s suit against the Department is based on its denials of three loan

discharge applications and arises under the Higher Education Act, 20 U.S.C. §§ 1070 et

seq., associated rules and regulations found in Title 34, part 30 of the Code of Federal

Regulations, and the Administrative Procedures Act, 5 U.S.C. §§ 551 et seq. The matter is

before the Court on a Joint Motion for Voluntary Remand (ECF No. 28) of the APA portion

of this case.


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       The Department of Education’s decisions on Plaintiff’s loan discharge applications

are REMANDED for reconsideration and reissuance, without vacatur. Given the Plaintiff’s

and the Department’s joint request that the Court retain jurisdiction over the APA

controversy with a status report to follow in four months, IT IS HEREBY ORDERED that

the parties will file a joint status report on or before October 1, 2021. The matter of

Plaintiff’s claims against the credit reporting agencies will remain and proceed in due

course, without stay.

       SO ORDERED this 25th day of May, 2021.

                                          /s/ Lance E. Walker
                                         UNITED STATES DISTRICT JUDGE




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